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                         UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In RE: Olympia Y. Howell,              |              CASE NO. 20-11702
                                       |
                            Debtor.    |              Judge: Eric L. Frank
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |
Gateway Mortgage Group, a division     |
Of Gateway First Bank,                 |              Chapter 13
                           Movant,     |
       v.                              |
                                       |
Olympia Y. Howell,                     |
                                       |
                           Respondent, |
William C. Miller,                     |
                           Trustee.    |

                      NOTICE OF MOTION, RESPONSE DEADLINE
                               AND HEARING DATE

Gateway Mortgage Group, a division Of Gateway First Bank has filed a Motion for Relief with the
court to Lift the Automatic Stay to Permit Gateway Mortgage Group, a division Of Gateway First
Bank, to Foreclose on debtor's property located at 425 Unruh Avenue, Philadelphia, PA 19111.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult an attorney.)

        1. If you do not want the court to grant the relief sought in the motion or if you want the
court to consider your views on the motion, then on or before December 13, 2021, you or your
attorney must do all of the following:

               (a) file an answer explaining your position at

                               United States Bankruptcy Court
                               Eastern District of Pennsylvania
                               Robert N.C. Nix Sr. Federal Courthouse
                               900 Market Street
                               Philadelphia, PA 19107


If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so
that it will be received on or before the date stated above; and
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               (b) mail a copy to the Movant's attorney:


                              Lois M. Vitti, Esquire
                              Vitti Law Group, Inc.
                              663 5th Street
                              Oakmont, PA 15139
                              Telephone: (412) 281-1725

       2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the court may enter an order granting the relief requested in the
motion.

      3. A hearing on the motion is scheduled to be held before the Honorable Eric L. Frank
on December 15, 2021, at 10:00 AM (Eastern Time) United States Bankruptcy Court
Eastern District of Pennsylvania, 900 Market Street, Courtroom #1, Philadelphia, PA 19107.

       4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
you request a copy from the attorney named in paragraph 1(b).

       5. You may contact the Bankruptcy Clerk's office at (215) 408-2800 to find out whether
the hearing has been canceled because no one filed an answer.




Date: 11/22/2021                                         /s/ Lois M. Vitti
                                                    Lois M. Vitti, Esquire
                                                    Attorney for Movant
